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   (Counsel for the CMs and Additional Counsel listed below Signature Line)
16
17
                          UNITED STATES DISTRICT COURT
18
                       SOUTHERN DISTRICT OF CALIFORNIA
19
20 IN RE:                            Case No. 3:17-CV-00108-GPC-MDD
                                     [Consolidated with Case No. 3:17-CV-01010-
21 QUALCOMM LITIGATION,              GPC-MDD]
22                                   APPLE INC.’S AND THE CMS’ NOTICE OF
23                                   MOTION AND DAUBERT MOTION TO
                                     STRIKE OPINIONS OF BERTRAM HUBER,
24                                   JONATHAN PUTNAM, AND ERIC STASIK
                                     REGARDING APPLE AS AN “UNWILLING
25                                   LICENSEE”
26                                   Judge:           Judge Gonzalo P. Curiel
27                                   Date:            March 14, 2019
                                     Time:            1:30 p.m.
28                                   Courtroom:       2D

                                                             CASE NO. 17-CV-00108-GPC-MDD
 1                        NOTICE OF MOTION AND MOTION
 2          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE that on March 21, 2019, at 1:30 p.m., or as soon
 4 thereafter as the matter may be heard, in the United States District Court for the
 5 Southern District of California, located at 221 West Broadway, San Diego, California,
 6 in Courtroom 2D before the Honorable Gonzalo P. Curiel, Plaintiff and Counterclaim-
 7 Defendant Apple Inc. (“Apple”), and Defendants, Counterclaimants, and Third-Party
 8 Plaintiffs Compal Electronics, Inc., FIH Mobile Ltd., Hon Hai Precision Industry Co.,
 9 Ltd., Pegatron Corporation, and Wistron Corporation (collectively, the “CMs”), will,
10 and hereby do move to strike the opinions of Qualcomm experts Bertram Huber,
11 Jonathan Putnam, and Eric Stasik regarding whether Apple is an “unwilling licensee,”
12 as reflected in the following excerpts of those individuals’ expert reports:
13            • Ex. H (Huber Op. Rpt.) at 55–63 (pages 5–6, 59–64 of the report);
14            • Ex. I (Stasik Op. Rpt.) ¶¶ 12, 16, 111–46; and
15            • Ex. J (Putnam Reb. Rpt.) ¶¶ 534–43.
16          Apple’s and the CMs’ motion is made pursuant to Daubert v. Merrell Dow
17 Pharm., Inc., 509 U.S. 579, 595 (1993), and Federal Rules of Evidence 401, 402,
18 403, and 702. It is based on this Notice of Motion and Motion, the Memorandum of
19 Points and Authorities, the Declaration of Meredith R. Dearborn, the Appendix of
20 Exhibits to this motion and all exhibits contained therein, as well as the argument of
21 counsel, the files and records in this action, any matters of which this Court may take
22 judicial notice, and such oral and documentary evidence as may be presented to the
23 Court.
24 Dated: February 14, 2019        Respectfully submitted,
25
                                   By:    /s/ William A. Isaacson
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             -3-                  CASE NO. 17-CV-00108-GPC-MDD
 1                             CERTIFICATE OF SERVICE
 2        The undersigned hereby certifies that a true and correct copy of the above and
 3 foregoing document has been served on February 14, 2019, to all counsel of record
 4 who are deemed to have consented to electronic service via the Court’s CM/ECF
 5 system per Civ. L.R. 5.4(d). Any other counsel of record will be served by electronic
 6 mail, facsimile and/or overnight delivery.
 7        Executed on February 14, 2019.
 8
                                                 /s/ William A. Isaacson
 9                                               William A. Isaacson
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